      Case 1:07-cr-00189-GZS        Document 220        Filed 01/29/08      Page 1 of 1


                            UNITED STATES DISTRICT COURT

                              DISTRICT OF NEW HAMPSHIRE



 UNITED STATES OF AMERICA


 v.                                                           Criminal No. 07-189-GZS


 DANIEL RILEY, JASON GERHARD,
 CIRINO GONZALEZ, and ROBERT
 WOLFFE
                Defendants



                  ORDER DENYING DEFENDANT GONZALEZ’S
                    MOTION FOR BILL OF PARTICULARS

         Now before the Court is Defendant Gonzalez’s Motion for Bill of Particulars

(Docket No. 176). The Government has objected to the Motion (Docket No. 215).

Defendant Gonzalez’s Motion shall be granted only if “in the absence of a more detailed

specification, will be disabled from preparing a defense, caught by unfair surprise at trial,

or hampered in seeking the shelter of the Double Jeopardy Clause.” United States v.

Sepulveda, 15 F.3d 1161, 1192-93 (1st Cir. 1993) (citing United States v. Abreu, 952

F.2d 1458, 1469 (1st Cir. 1992) (collecting cases)). After a careful review, the Court

does not find that the Third Superseding Indictment reveals a material inability to prepare

a defense, untenable surprise, or other potential prejudice such that it is necessary to

mandate further particulars. The Court, therefore, ORDERS that Defendant Gonzalez’s

Motion for a Bill of Particulars be, and it is hereby, DENIED.


                                              /s/ George Z. Singal__________________
                                              Chief United States District Judge

Dated this 29th day of January, 2008.
